 LAW OFFICE OF   Case 2:05-cr-00343-KJM Document 87 Filed 01/28/08 Page 1 of 1
 GARO B. GHAZARIAN
 State Bar No. 152790
 15915 Ventura Blvd, Suite 203
 Encino, California 91436




                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                                                  CASE NUMBER
 UNITED STATES OF AMERICA,
                                                   Plaintiff(s)             CR. S. 05-343 FCD
                                 v.
                                                                                     ORDER ON
 YURIK SHAKHBAZYAN
                                                                              REQUEST FOR APPROVAL OF
                                                                             SUBSTITUTION OF ATTORNEY
                                                 Defendant(s).


        The Court hereby orders that the request of:

             YURIK SHAKHBAYAN                      G Plaintiff # Defendant G Other
                 Name of Party

to substitute           GARO B. GHAZARIAN                                                                          who is

        # Retained Counsel             G Counsel appointed by the Court (Criminal cases only)                     G Pro Se

                 15915 VENTURA BLVD, SUITE 203
                                                           Street Address

                         ENCINO                                                      GBGLAW@SBCGLOBAL.NET
                         City, State, Zip                                                        E-Mail Address

        (818) 905-6484                           (818) 905-6481                                  152790
                 Telephone Number                          Fax Number                                     State Bar Number

as attorney of record in place and stead of                FRED G. MINASSIAN
                                                                              Present Attorney
is hereby        X GRANTED                  G DENIED




        Dated January 28, 2008
                                                                    Frank C. Damrell, Jr.
                                                                    United States District Judge




G–01 ORDER (06/05)            ORDER ON REQUEST FOR APPROVAL OF SUBSTITUTION OF ATTORNEY
